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        League, NFL Enterprises LLC, and the
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   16                                 UNITED STATES DISTRICT COURT
   17                              CENTRAL DISTRICT OF CALIFORNIA
   18
          IN RE: NATIONAL FOOTBALL                       Case No. 2:15-ml-02668−PSG (SKx)
   19     LEAGUE’S “SUNDAY TICKET”                       DEFENDANTS’ REPLY IN
   20
          ANTITRUST LITIGATION                           SUPPORT OF MOTION IN
          ______________________________                 LIMINE NO. 4 TO EXCLUDE
   21                                                    REFERENCE TO THE PRICING
                                                         ARRANGEMENTS FOR
   22     THIS DOCUMENT RELATES TO:                      NFLSUNDAYTICKET.TV
          ALL ACTIONS                                    Judge: Hon. Philip S. Gutierrez
   23
                                                         Date: May 17, 2024
   24                                                    Time: 2:30 p.m.
   25                                                    Courtroom: First Street Courthouse
                                                                    350 West 1st Street
   26
                                                                    Courtroom 6A
   27                                                               Los Angeles, CA 90012
   28
         Case No. 2:15-ml-02668-PSG (SKx)        Defendants’ Reply In Support Of Motion In Limine No. 4 To Exclude
                                                 Reference To The Pricing Arrangements For NFLSundayTicket.TV
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    1           Plaintiffs’ response to NFL Defendants’ Motion in Limine No. 4, ECF
    2   No. 1116-1 (“Mot.”), confirms that they intend to argue that because the NFL
    3   lawfully shared pricing responsibility for nflsundayticket.TV (“.TV”) with DirecTV,
    4   the NFL must also have conspired to set prices for the separate satellite version of
    5   Sunday Ticket at issue. See ECF No. 1212-1, Pls.’ Mem. Opp. Defs.’ Mot. in Limine
    6   No. 4 (“Opp.”) at 2–3. That prejudicial argument has no place at trial, for reasons that
    7   Plaintiffs cannot dispute:
    8            Plaintiffs expressly excluded .TV subscribers from their class definition;
    9            Plaintiffs’ experts do not analyze .TV or offer any opinions about it, let
   10                alone that it is probative of a conspiracy or anticompetitive effects;
   11            A separate arrangement, not challenged in the Complaint, governs the
   12                pricing for .TV; and
   13            The NFL’s greater role in .TV pricing is lawful.
   14   Despite having years of discovery, it is not surprising that Plaintiffs are disappointed
   15   with the lack of evidence that the NFL conspired to set the price of Sunday Ticket.
   16   But that does not justify allowing them to substitute prejudicial and off-point
   17   evidence that would create an unnecessary and wasteful sideshow at trial.
   18           First, Plaintiffs do not establish that evidence about .TV pricing has any
   19   legitimate probative value. As an initial matter, Plaintiffs excluded .TV customers
   20   from their class, explaining that those customers “are not DirecTV satellite
   21   subscribers.” ECF No. 630-1, Mem. Supp. Pls.’ Mot. Class Cert. at 1 n.1. Plaintiffs
   22   presumably gerrymandered their class in this manner for strategic reasons. As the
   23   Court knows, one of Plaintiffs’ damages models rests on the premise that in the but-
   24   for world, out-of-market games would all move “to an OTA/Regular Pay TV format.”
   25   ECF No. 962-4, Expert Report of Daniel A. Rascher, dated February 17, 2023
   26   (“Rascher Rep.”) ¶ 320. Such a shift would have harmed .TV subscribers, who in the
   27   but-for world would have needed to pay for far more expensive MVPD service, such
   28   as cable, to get access to the same games. Plaintiffs should not get to have their cake
                                                       1
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    1   and eat it too. Having excluded .TV subscribers from the class, Plaintiffs should not
    2   be allowed to now introduce at trial prejudicial evidence relevant only to those
    3   abandoned subscribers.
    4              Plaintiffs’ argument that evidence of .TV pricing is somehow relevant to
    5   economic considerations such as “supply, demand, and pricing,” Opp. at 2, changes
    6   nothing. Plaintiffs’ primary evidence regarding those economic issues is the
    7   testimony of their expert witnesses. And none of Plaintiffs’ experts even discusses
    8   the “supply, demand, and pricing” for the .TV product. Only one expert even
    9   mentions the .TV product at all, and although he offers hundreds of pages of analysis
   10   of the challenged agreements in this case, his discussion of .TV was limited to merely
   11   describing the product. ECF No. 962-4, Rascher Rep. ¶¶ 103, 123; see also id. ¶ 47,
   12   Ex. 1 (listing .TV prices on table summarizing available “Sunday Ticket Packages”).1
   13              Second, although Plaintiffs suggest that the distinct .TV pricing arrangement
   14   is actually one of the “interlocking agreements” they challenge, Opp. at 2, they
   15   included no allegations about that arrangement in their Complaint. They also have
   16   repeatedly defined what they assert is the challenged conduct, which has never
   17   included any discussion of the terms by which .TV was distributed. See, e.g., ECF
   18   No. 962-4, Rascher Rep. ¶¶ 66–68 (specifying the aspects of the NFL-DirecTV
   19   relationship that are being challenged and not mentioning the .TV product); see also
   20   id. ¶ 380 (noting in passing that the .TV product might still exist in “no pooling” but-
   21   for world).
   22              Nor is it correct that .TV’s pricing
   23   1
         The appellate cases that Plaintiffs cite do not suggest a different result; those cases
   24   concern the admissibility of evidence of criminal convictions and have no relevance
        here. United States v. Andreas addressed whether Federal Rule of Evidence 404(b)
   25   bars the introduction of evidence of a co-defendant’s conviction in a separate
        conspiracy to fix prices on a related product as evidence that “covers acts that are . . .
   26   intricately interwoven with the facts of the charged crime.” 216 F.3d 645, 664–65
        (7th Cir. 2000). Similarly, in In re High Fructose Corn Syrup Antitrust Litigation,
   27   the court analyzed whether evidence of a criminal conviction for a price-fixing
   28   conspiracy was admissible to prove a separate price-fixing conspiracy on a related
        product in a civil action. 295 F.3d 651, 661–65 (7th Cir. 2002).
                                                       2
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    2                                                                     Opp. at 1,
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    6   ECF No. 1212-3, NFL_0000458 at 477–80. This motion concerns only the pricing
    7   arrangements
    8

    9               See, e.g., Mot. at 1; Opp. at 1–3.
   10           Finally, the risk of prejudice, confusion, and delay from evidence of .TV’s
   11   pricing arrangement is significant. Plaintiffs’ opposition reveals their desire to
   12   obscure the distinctions between Sunday Ticket and .TV to suggest that the NFL’s
   13   involvement in pricing for the latter implies an unlawful conspiracy regarding the
   14   former. That is misleading in the extreme. There does not appear to be any serious
   15   dispute that .TV is a joint venture between DirecTV and the NFL under which the
   16   NFL would be expected to have input on prices. See, e.g., Texaco Inc. v. Dagher, 547
   17   U.S. 1, 7 (2006) (“[A] joint venture, like any other firm, must have the discretion to
   18   determine the prices of the products that it sells[.]”).
   19           To counter the implication that involvement with .TV pricing means the NFL
   20   was also involved in Sunday Ticket pricing, the NFL Defendants would need to
   21   introduce evidence of                                                                       , as well as
   22   the distinct histories of the products’ pricing arrangements. Defendants also would
   23   need to explain why the NFL’s role in .TV pricing was lawful—a complicated matter
   24   to translate to a jury given the legal contours. Moreover, Defendants would likely be
   25   entitled to a jury instruction clarifying how antitrust law applies to the .TV joint
   26   venture, further complicating the instructions necessary in this case.
   27           In sum, because .TV pricing is independent of Sunday Ticket pricing and
   28   governed by different legal rules applicable to a different distribution structure, there
                                                         3
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    1   is no potential that any legitimate probative value of evidence of .TV pricing could
    2   justify the considerable trial time it would take to counter Plaintiffs’ false narrative
    3   that the products and their pricing arrangements are identical. Far from seeking to
    4   “atomize” the NFL-DirecTV agreement, Opp. at 1, the NFL Defendants contend that
    5   excluding evidence or argument about .TV’s pricing arrangement would permit the
    6   jury to focus on the agreements actually at issue in this case.
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    1   Dated: February 9, 2024             Respectfully submitted,
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